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             IN THE UNITED STATES DISTRICT COURT FOR THE NORTHERN
                      DISTRICT OF ILLINOIS, EASTERN DIVISION


DAVID BOSWELL, JR.,                          )
                                             )
                      Plaintiff,             )
                                             )
               v.                            ) Case No. 16 c 9070
BRYAN SULLIVAN, et al.                       ) The Hon. Judge John R. Blakey
                                             )
                      Defendants.            )

         DEFENDANT SULLIVAN’S MOTION FOR EXTENSION OF TIME TO FILE
                          RESPONSIVE PLEADING


       NOW COMES Defendant BRYAN SULLIVAN, by and through his attorney LISA

MADIGAN, Attorney General of Illinois and, pursuant to Fed. R. Civ. P. 6(b)(1)(A) to hereby

move this Honorable Court for an extension of time to complete discovery until October 14,

2017 and states the following in support thereof:

       1. Defendant Sullivan filed his Answer in this matter on May 12, 2017. [ECF No. 19.]

       2. On June 14, 2017, this court entered an order setting the close of discovery for

           September 14, 2017. [ECF No. 23.]

       3. The court also set a status hearing for the day of September 14, 2017. [ECF No. 23.]

       4. Due to a calendaring error and the neglect of counsel, discovery has not been

           completed and counsel did not appear at the September 14, 2017 status or arrange for

           Plaintiff’s phone appearance.

       5. Defendants have secured two potential dates for Plaintiff’s deposition by video in late

           September 2017.

       6. Defendants have also received discovery requests from Plaintiff and will prepare

           responses as soon as possible.

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       7. On September 12, 2017, Plaintiff also filed a motion to voluntarily dismiss this claim.

           [ECF No. 27.] Defendants have no objection to this motion.

       8. Should the court deny Plaintiff’s motion, Defendants request a 30-day extension of

           time to complete discovery up to and including October 14, 2017.

       9. This motion is brought in good faith and not for purposes of delay or any other

           improper purpose and the parties will not be unduly prejudiced if this motion is

           granted.

           WHEREFORE, Defendant Bryan Sullivan requests that this Honorable Court extend

       the deadline for filing his responsive pleading up to and including October 14, 2017.


                                            Respectfully submitted on behalf of,

LISA MADIGAN
Attorney General of Illinois                By:     s/Megan Honingford
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